Case 3:17-cv-00072-NKM-JCH Document 354-7 Filed 10/02/18 Page 1 of 7 Pageid#: 3231




                      EXHIBIT 6
Case 3:17-cv-00072-NKM-JCH Document 354-7 Filed 10/02/18 Page 2 of 7 Pageid#: 3232



    From:           James Kolenich
    To:             Yotam Barkai; Seguin L. Strohmeier
    Subject:        Cantwell discovery response
    Date:           Friday, April 6, 2018 3:38:18 PM
    Attachments:    cantwelldiscoveryresponse4618.pdf


    Counsel: Please find attached discovery responses from Christopher Cantwell. I will
    also be forwarding his responsive documents in 4 separate emails that he provided.
    His production requires "winzip" to open. If this production is not acceptable please so
    advise and I will have the files opened, transferred to disk, and mailed to you in
    expedited fashion next week. I have security scanned his files and the checked out
    clean.

    As to the other defendants I am still waiting on notarized signature forms which I
    should receive by Monday. Also I have been told I can confer with Mr. Parrott on
    Monday to finish the Traditionalist Worker Party response and Mr. Mosely as to the
    Identity Evropa response.

    Respectfully,

    Jim

    --
    James E. Kolenich
    Kolenich Law Office
    9435 Waterstone Blvd. #140
    Cincinnati, OH 45249
    513-444-2150
    513-297-6065(fax)
    513-324-0905 (cell)
Case 3:17-cv-00072-NKM-JCH Document 354-7 Filed 10/02/18 Page 3 of 7 Pageid#: 3233



                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA


ELIZABETH SINES et al.,                 :      CASE NO: 3:17cv00072
                                        :      (J. Moon, Magistrate J. Hoppe)
             Plaintiff                  :
                                        :
vs.                                     :
                                        :
JASON KESSLER et al.,                   :
                                        :
             Defendant                  :

     DEFENDANT CHRISTOPHER CANTWELL’S RESPONSES TO DEFENDANT’S FIRST
      INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS
_______________________________________________________________________________


      Now comes defendant Christopher Cantwell and responds to defendants first set of
Interrogatories and Request for Documents as follows:


                                 I. DISCOVERY REQUESTS
        1.     Identify all means of communication used by you to communicate concerning the
Events, whether before, during, or after the Events, and for each means of communication, identify
all names, aliases, e-mail addresses, phone numbers, and Social Media Handles you used in
connection with such communications, including the 18-digit account identifier associated with any
Discord account used by You. Means of communications include, but are not limited to, telephone
calls, in-person meetings, and all means of electronic communication including, for example, Social
Media, email, SMS messages, podcasts, and online video.

             ANSWER: Gab.ai (@cantwell), Facebook (banned on or about 8/14/17), youtube
             (banned on or about 8/14/17), twitter (banned long before Charlottesville rally),
             christophercantwell.com, radicalagenda.com, ustream (renegade631), Discord
             Charlottesville server, unsure of server name/shut down. Also on Discord
             RadicalAgenda#7529.




      2.     Identify any “channel” or “server” on Discord to which you had access.

             ANSWER: See above answer to #1.


      3.     Identify all persons (natural or non-natural) with whom you communicated concerning
the Events, whether before, during, or after the Events.

                                                 1
Case 3:17-cv-00072-NKM-JCH Document 354-7 Filed 10/02/18 Page 4 of 7 Pageid#: 3234



             ANSWER: Mr. Cantwell regularly posts comments and podcasts dealing with,
       among other things, Charlottesville. He has no way of knowing who reads or listens to
       these commentaries. Preparatory to Charlottesville Mr. Cantwell spoke to Jason
       Kessler, Eli Moseley aka Elliott Kline, Richard Spencer, and an individual known to
       Cantwell only as “Curt”.


      4.     Identify all Electronic Devices used by you to communicate concerning the Events,
whether before, during, or after the Events.

              ANSWER: cellular phone (calls and text messages, (631) 291-0829),
                      e-mail(Christopher.cantwell@gmail.com)


                                    II. DOCUMENT REQUESTS




         1.     All Documents and Communications concerning the Events, including without
limitation all
documents and communications:
i. concerning any preparation, planning, transportation to, or coordination for, the Events,
including receipts, bills and credit card statements reflecting costs for transportation,
lodging, apparel, gear, or any other material purchased for the Events;
ii. concerning any instructions or coordination relating to the Events, including security
details, what to wear, what to bring, when to meet, where to meet, what to say, and any
other logistical information or arrangements;
iii. that are Social Media documents concerning the Events;
iv. you created during the Events, including Social Media, text messages, video, and
photographs;
v. concerning African Americans, Jewish individuals, or other religious, racial, or ethnic
minorities that relate in any way to the Events;
vi. concerning any statement or action attributed to You in the Amended Complaint; or
vii. concerning any allegation of an altercation, violent act, injury, or instance of intimidation
or harassment that occurred during the Rally, including but not limited to James Fields’
vehicular incident; or
viii. concerning any funding of the Events, including for transportation, housing, food,
weapons, uniforms, signage, tiki torches, or other materials or services used in
connection with the Events (or the planning thereof)..

              ANSWER: See attached.



       2. All Documents and Communications concerning events, meetings, rallies,

                                                     2
Case 3:17-cv-00072-NKM-JCH Document 354-7 Filed 10/02/18 Page 5 of 7 Pageid#: 3235



         conferences, or conversations held prior to the Events that relate to the Events in any way.

              ANSWER: See attached.


       3.      All Documents concerning and all Communications concerning or with East Coast
       Knights of the Ku Klux Klan (or East Coast Knights of the True Invisible Empire), Fraternal
       Order of the AltKnights, Identity Europa (or Identity Evropa), League of the South, Loyal
       White Knights of the Ku Klux Klan (or Loyal White Knights Church of the Invisible Empire
       Inc.), Moonbase Holdings, LLC, Nationalist Socialist Movement, Nationalist Front (or Aryan
       National Alliance), Traditionalist Worker Party, Vanguard America, or any such other social
       group or organization that has as part of its agenda a racial, religious, or ethnic objective.

              ANSWER: See attached.


       4.    All Documents and Communications concerning violence, intimidation, or harassment
of Persons on the basis of race, religion, or ethnicity, including but not limited to, ethnic cleansing,
white genocide, a white ethno-state, or any other form of large or small scale violence.

              ANSWER: See attached.




      5.      For any Social Media account You had from January 1, 2015, to the present: i.
Documents and Communication sufficient to show the account home page, and all uses of Social
Media for that account that reference or concern the Events or Defendants in any way. ii.
Documents and Communication sufficient to show all Your “friends” and/or “social connections”
maintained on Your account, including their names, addresses, and social network usernames or
handles.

              ANSWER: See attached.


      6.     All Documents concerning and all Communications concerning or with any Plaintiff or
Defendant (other than You) named in the Amended Complaint, and any other Person who attended,
planned or was involved in the Events.

              ANSWER: See attached.

       7.      All Documents and Communications concerning any lawsuits, claims of violence, or
arrests relating to or arising out of racially, ethnically, or religiously motivated conduct by You or any
Defendant named in the Amended Complaint.

              ANSWER: None other than items responsive to above requests.


                                                    3
Case 3:17-cv-00072-NKM-JCH Document 354-7 Filed 10/02/18 Page 6 of 7 Pageid#: 3236



     8.    All Documents and Communications concerning the steps you have taken to preserve
Documents and Communications relevant to the lawsuit, including the Documents and
Communications responsive to these Requests.

             ANSWER: None other than items responsive to above requests.



                                        Respectfully Submitted and as to Objections:

                                        s/ James E. Kolenich PHV_______________
                                         James E. Kolenich
                                         Ohio Bar Number: 0077084
                                        Attorney for Jason Kessler
                                        Kolenich Law Office
                                        9435 Waterstone Blvd. #140
                                        Cincinnati, OH 45249
                                        (513) 444-2150
                                        (513) 297-6065 (fax)
                                        Email: Jek318@gmail.com




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on April 6, 2018
via email upon: Mr. Yotam Barkai, Esq., Ms. Sequin Strohmeier Esq. Attorneys for Plaintiffs as
follows: email: YBarkai@bsfllp.com; sstrohmeier@kaplanandcompany.com


                                                     s/ James E. Kolenich PHV
                                                     James E. Kolenich




                                                 4
Case 3:17-cv-00072-NKM-JCH Document 354-7 Filed 10/02/18 Page 7 of 7 Pageid#: 3237
